254 F.2d 601
    DIXIE DEPARTMENT STORE, Inc., Appellant,v.PERFECT GARMENT COMPANY et al., Appellees.
    No. 13537.
    United States Court of Appeals Sixth Circuit.
    April 10, 1958.
    
      Appeal from the United States District Court for the Western District of Kentucky, Louisville.
      Carl K. Helman, Louisville, Ky., for appellant.
      Joseph Lazarus, Louisville, Ky., for appellees.
      PER CURIAM.
    
    
      1
      Upon motion of the appellant, and with the agreement of the appellees, it is ordered that this appeal be and it hereby is dismissed.
    
    